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                           UNITED STATES DISTRICT COURT

                          WESTERN DISTRICT OF LOUISIANA

                                     MONROE DIVISION

 UNITED STATES OF AMERICA                        *    CRIMINAL NO. 12-0119-02


 VERSUS                                          *    JUDGE ROBERT G. JAMES


 CONNIE L. GRESHAM                               *    MAG. JUDGE KAREN L. HAYES

                                     JUDGMENT

        The Report and Recommendation of the Magistrate Judge, having been considered, no

objections thereto having been filed, and finding that same is supported by the law and the record

in this matter,

        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the District Court

accepts the guilty plea of the defendant, Connie L. Gresham, and adjudges her guilty of the

offense charged in Count One of the Bill of Information against her.

        MONROE, LOUISIANA, this 29th day of January, 2013.
